                             Case 1:10-cr-01057-KMW Document 35 Filed 05/07/13 Page 1 of 6

AO 245B           (Rev. 09 i 08) Judgment in a Criminal Case                                                        USDSSDNY
vi                Sheet 1



                                               UNITED STATES DISTRICT Co
                                                          SOUTHERN DISTRICT OF NEW YORK
                                                                              )
                                                                                                                    DATE FILED: $
                  UNITED STATES OF AMERICA                                    )          JUDGMENT L~~~~~;ija1-~~-                                       .
                                        v.                                    )
                                                                              )
                      STEVEN J. SANTANA, JR.                                             Case Number: 01: 10 CR 1057 (KMW)
                                                                              )
                                                                              )          CSM Number: 63596-054

                                                                                         Patrick)()yse, E~q. (AUSA Alvin Bragg)
                                                                                         Defendant's At10rney              ... .

THE DEFENDANT:
Ii'pleaded guilty to count( s)
o plcadeclnolo conkndere 10 counl(s)
      which was accepled by the court.
      was found guilty on eount(s)
      after a pica of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                        Nature of Offense                                                             Offense Ended              CQunt

     18 U.S.C. 111 (a)(1)                Assaulting and Making Physical Contact With a'Federal                        6/9/2010                   1

                                             Officer




      Sec additional count(s) on page 1.


       The defendanr is senrenced as provided in pages                through 6      of this judgment. The sentence is imposed pursuant 10 the
 Sentencing Reform Act of 1984,

 o The defendant has been found not guilty on count(s)
       Count(s)                                                D IS     Dare disnl1SSccI on the motion of the United States,

        , It is ordered [hat Ih_e defend~nt nllst nOlify the t:nilcdSlaks attorney for this dist~ict within 30 dav~ 01' any change of name, residence.
 or maihng address untd all fines, res!!tutlOn, costs, and speCial as;;CSS111cnts Imposed by 11m Judgment arc (ully paId, If ordered to pay restitutIOn,
 the defclIoanl must notify the court and Ul1Ited States attorney ot matenal changes 111 economic CIrcumstances,

                                                                              May 7,2013
                                                                                  Dall: of Imposllion of Judgment




                                                                                  Signature of Judge


                                                                               KIMBA M. WOOD, U.S.D.J.
                                                                                                                                 Tltk oUlluge


                                                                                      ').-1- (?
                                                                                  Dale
                           Case 1:10-cr-01057-KMW Document 35 Filed 05/07/13 Page 2 of 6

AO 2458         (Rev. 09/08) Judgment in a Criminal Case
vl              Sheet 2 - Imprisonment

                                                                                                                   Judgment Page: 2 of 6
     DEFENDANT: STEVEN J. SANTANA, JR.
     CASE NUMBER: 01: 10 CR 1057 (KMW)


                                                               IlVIPRISONMENT

              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     total term of:
     41 months, to be served concurrently with the sentence he is serving in federal case 10 CR 637 (LOO).




        ii6 The court makes the following recommendations to the Bureau of Prisons:
     That the defendant be incarcerated in the New York, New Jersey and Pennsylvania region, so that his family may visit him.




        ri The defendant is remanded to the custody of the United States Marshal.
        o The defendant shall surrender to the United States Marshal for this district:
          o at                                      a.m.     o p.m. on ___ _______..._ _.. ___.. ____.. __
                                                                                       ~




          o as notified by the United States Marshal.
        o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before                on

             o as notified by the United States Marshal.
                  as notified by the Probation or Pretrial Services Office.



                                                                      RETURN
     I have executed this judgment as follows:




             Defendant delivered on

     a ___~ ________.____~ . _____.. ___ .___ .__.__._ , with a certified copy of this judgment.



                                                                                                      UNITED STATES !VIARSHAL


                                                                              By ___..._ _.._ _.._ _..~ __..___...___.._________
                                                                                                   DEPUTY UNITED STATES MARSHAL
                               Case 1:10-cr-01057-KMW Document 35 Filed 05/07/13 Page 3 of 6

AO 245B              (Rev. 09108) Judgment in a Criminal Case
vI                   Sheet 3 - Supervised Release


 DEFENDANT: STEVEN J. SANTANA,                              "R.                                                             Judgment Page: 3 of 6
 CASE NUMBER: 01: 10 CR 1057 (KMW)
                                                                  SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
     3 years

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)' unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonmcnt and at least two periodic drug tests
 thereafter, as determined by the court.

 o            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
              future substance abuse. (Check. if applicable.)

 o            The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check. i/applicable.)

 o            The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. if applicable.)

              The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U .S,c. § 1690 I, et seq,)
              as direc.ted by the probatIOn offi~er, the Burea~1 of Prisons, or any state sex offender registration agency in which he or she resides,
              works, IS a student, or was convIcted of a quallfy\l1g offense. (Check. ijapp/icable)

     o        The defendant shall participate in an approved program for domestic violence. (Check, if applicable)
             If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with thc
     Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                                STANDARD COl\DITIOl\S OF SUPERVISIOl\
         I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
               each month;
         3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
       4)      the defendant shall support his or her dependents and meet other family responsibilities;
         5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
               acceptable reasons;
         6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
         7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
               controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
         8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
         9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
               felony, unless granted penn Ission to do so by the probatIOn officer;
      10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall pcrmit confiscation of any
                contraband observed in plain view of the probation officer;
      II)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
      12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agencv without the
                permission of the court; and                                                         _ .

      13)       as directed by the rrobation officer, the defendant shall noti lY third rarties of risks that may be occasioned by the defendant's criminal
                record or ~ersonal history or characteristics and shall permit th e probation officer to make such notifications and to confirm the
                defendant s compliance with such notification requirement.
                         Case 1:10-cr-01057-KMW Document 35 Filed 05/07/13 Page 4 of 6

AO 245B       (Rev, 09!(8) Judgment in a Criminal Case
vI            Sheet 3C    SupervIsed Release

 DEFENDANT: STEVEN J. SANTANA, JR.                                                                         Judgment Page: 4 of 6

 CASE NUMBER: 01: 10 CR 1057 (KMW)

                                            SPECIAL CONDITIONS OF SUPERVISION
     The standard and mandatory conditions of supervised release apply, along with the following special conditions:

     The defendant shall participate in a program approved by the United States Probation Office for substance abuse, which
     program may include testing to determine whether the defendant has reverted to the use of drugs or alcohol. The Court
     authorizes the release of available drug treatment evaluations and reports to the substance abuse treatment provider, as
     approved by the probation officer. The defendant will be required to contribute to the costs of services rendered
     (copayment) in an amount to be determined by the probation officer, based on ability to payor availability of third-party
     payment.

     The defendant will participate in an alcohol aftercare treatment program under a co-payment plan, which may include
     testing via breathalyzer at the direction and discretion of the probation officer.

     The defendant shall submit his person, residence, place of business, vehicle, or any other premises under his control to a
     search, on the basis that the probation officer has reasonable belief that contraband or evidence of a violation of the
     conditions of the release may be found. The search must be conducted at a reasonable time and in a reasonable manner.
     Failure to submit to a search may be grounds for revocation, The defendant shall inform any other residents that the
     premises may be subject to search pursuant to this condition.

     The defendant is to report to the nearest Probation Office within 72 hours of release from custody.

     The defendant shall be supervised by the district of his residence.
                           Case 1:10-cr-01057-KMW Document 35 Filed 05/07/13 Page 5 of 6

AO 245B         (Rev, (9/08) Judgment in a Criminal Case
vI               Sh.eet 5 - Crimlllal Monetary Penalties

                                                                                                                           Judgment Page: 5 of 6
     DEFENDANT: STEVEN J. SANTANA, JR.
     CASE NUMBER: 01: 10 CR 1057 (KMW)
                                                     CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                           Assessment                                          Fine                              Restitution
 TOTALS                $ 100.00                                             $ 0.00                             $ 0,00


     D The determination of restitution is deferred until                         An Amended Judgement in a Criminal Case (AG 245C; will be entered
         after such determination.

     D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         I f the defendant makes a partial payment, each payee shall receive an approximately 'proportioned pavment, unless specified otherwise in
         the priority order or percentage pavment column below. However, pursuant to 18 U.S.c. § 3664(1):aJl nonfederal victims must be paid
         before the United States is paId.       <




     Name of Payee                                                         Total Loss*              Restitution Ordered     Priority or Percentage




 TOTALS                                                                                    $0.00                   $0.00


     D    Restitution amount ordered pursuant to plea agreement $

     D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
          fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 36 12(t). All of the payment options on Sheet 6 may be subject
          to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

     D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          D the interest requirement is waived for the                o fine   D restitution.
          D the interest requirement for the               D   fine    D restitution is modified as follows:


     * Findings for the total alIDunt of losses are required under Chap:ers 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on or after
     September 13,1994, but before April 23, 1996,
                             Case 1:10-cr-01057-KMW Document 35 Filed 05/07/13 Page 6 of 6

AD 24513         (Rev 09/08) Judgment in a Criminal Case
vl               Sheet 6 -   Schedule of Payments

                                                                                                                         Judgment Page: 6 of 6
 DEFENDANT: STEVEN J, SANTANA, JR.
 CASE NUMBER: 01: 10 CR 1057 (KMW)

                                                           SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A       rtf Lump sum payment of $                              due immediately, balance due

               C      not later than ____..__. '_"_._'               ' or
               D      in accordance     D C,       D,           D      E, or    0 F below; or
 B       D     Payment to begin immediately (may be combined with              DC,       D D, or      D F below); or
 C             Payment in equal _ ...... _ _ _.._ (e.g., weekly, monthly, quarterM installments of $                             over a period of
                            (eg., months or years), to commence                   (e,g., 30 or 60 days) after the date of this judgment; or

 D        D    Payment in equal _..__......___ (e.g, weekly, monthly, quarterly) installments of $                         over a period of
                             (e.g., months or years), to commence               (e,g" 30 or 60 days) after release from imprisonment to a
               term of supervision; or

 E             Payment during the term of supervised release will commence within _____ ._ (e.g., 30 or 60 days) after release from
               imprisonment The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 :F            Special instructions regarding the payment of criminal monetary penalties:




     Unless the court has express Iv ordered otherwise, if this judgment imposes imprisonment Rayment of crilrlnal monetary penalties is due during
     imprisonment All crimnal 1110netary penalties, except those payments made through the Federal Bureau of Prisons' lnmate Finane ial
     Responsibility Program, are made to the clerk of the court,

     The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed,




     D    Joint and Several

          Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
          and corresponding payee, if appropriate.




           The defendant shall pay the cost of prosecution,

     o     The defendant shall pay the following court cost(s):

     D     The defendant shall forfeit the defendant'S interest in the following property to the United States:




     Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
     (5) fine interest. (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
